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                                                   November 27, 2024

        By ECF

        Hon. Frederic Block
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                 Re:   United States v. Singh
                       23 Cr. 236 (FB)

        Dear Judge Block:

               I am writing to request a modification of the conditions of release for my client,
        Sagar Singh, whose travel is restricted to New York City, Rhode Island (where he
        resides), and points between.

               Mr. Singh wishes to participate, along with friends from his community, in a
        recreational soccer league whose matches take place on weekends in Seekonk,
        Massachusetts, which is approximately a twenty-minute drive from Mr. Singh’s
        residence. Specifics regarding these activities have been provided to Mr. Singh’s Pretrial
        Services Agency supervisor in the District of Rhode Island, Timothy Donohue, and
        neither he nor Officer Valeria Lopez of this district’s Pretrial Office has any objection to
        the proposed travel modification.

               Assistant United States Attorney Ellen Sise has advised us that the government
        also has no objection to the requested modification.

               Accordingly, I request that the Court modify Mr. Singh’s bail conditions to permit
        him to travel to Massachusetts in order to participate in soccer matches.

                                                   Respectfully,

                                                   /s/
                                                   Jeremy Gutman
                                                   Attorney for Defendant
                                                   Sagar Singh
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cc.   Ellen Sise, Esq.
      Alexander Mindlin, Esq.
      Adam Amir, Esq.
      Assistant United States Attorneys (by ECF)

      Valeria Lopez
      Timothy Donohue
      United States Pretrial Services Officers (by email)
